       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                              JASON STONE,
                                Appellant,

                                      v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-1452

                           [August 22, 2024]

   Appeal of order denying rule 3.800 motion from the Circuit Court for
the Seventeenth Judicial Circuit, Broward County; Bernard I. Bober,
Judge; L.T. Case No. 03-000215 CF10A.

   Jason Stone, Cross City, pro se.

   No appearance required for appellee.

PER CURIAM.

   Affirmed.

KLINGENSMITH, C.J., DAMOORGIAN and CIKLIN, JJ., concur.

                          *           *         *

   Not final until disposition of timely filed motion for rehearing.
